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IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF WASHINGTON

CHRISTOPHER C. JOHNSON,
Plaintiff, Case No. Case No. 3:23-cv-05441-BHS
Vv. NOTICE OF VOLUNTARY
DISMISSAL WITH PREJUDICE AS
EQUIFAX, INC., TO DEFENDANT
Defendant.

 

 

NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

NOTICE IS HEREBY GIVEN that Pro Se Plaintiff Christopher C. Johnson,
pursuant to Rule 41(a)(i) of the Federal Rules of Civil Procedure, hereby dismisses all
causes of action in his complaint against Defendant Equifax Information Services. LLC.
erroneously named as Equifax, Inc., with prejudice.

Defendant Equifax Information Services, LLC has neither filed an answer to the
complaint nor a motion for summary judgement as to these claims. Dismissal under Rule
41(a)(i) is therefore appropriate.

Dated: 6/21/2023

fo l steps €.. Sela —
Christopher C. Johnson
Pro Se Plaintiff

 

NOTICE OF VOLUNTARY DISMISSAL

 
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CERTIFICATE OF SERVICE
I certify that, on 6/21/2023, I filed the foregoing NOTICE OF VOLUNTARY
DISMISSAL WITH PREJUDICE AS TO DEFENDANT EQUIFAX INFORMATION
SERVICES LLC with the Clerk of Court using the CM/ECF system, which will send e-

mail notification of such filing to all attorneys of record.

Fatah se ‘Z——

 

Christopher C. Johnson
Pro Se Plaintiff

 

NOTICE OF VOLUNTARY DISMISSAL

 
